  Case 17-01130-jw         Doc 222     Filed 06/26/18 Entered 06/26/18 09:10:35            Desc Main
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                                  UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF SOUTH CAROLINA


  In re:                                                      Case No. 17-01130-jw

           Connie Lynette Hardwick,
                                                              Chapter 11
           Debtor.

  In re:                                                      Case No. 17-01132-jw
                                                              Chapter 11
           Double J Farms, LLC,

           Debtor.

                                  FINAL DECREE CLOSING CASE

The relief set forth on the following pages, for a total of 2 pages including this page is hereby
ORDERED.




    FILED BY THE COURT
        06/26/2018




                                                        US Bankruptcy Judge
                                                        District of South Carolina



      Entered: 06/26/2018
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                                    UNITED STATES BANKRUPTCY COURT
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  In re:                                                         Case No. 17-01130-jw

             Connie Lynette Hardwick,
                                                                 Chapter 11
             Debtor.

  In re:                                                         Case No. 17-01132-jw
                                                                 Chapter 11
             Double J Farms, LLC,

             Debtor.

                                     FINAL DECREE CLOSING CASE

           THIS MATTER came before the Court as the result of the above-captioned debtors having
filed its Report of Substantial Consummation and Application for Final Decree (“Application”). The
Application was properly served on all creditors and parties in interest. It appearing that no party has
objected to the Application and that the Debtor has certified that the estate has been fully administered,
it is hereby:
           ORDERED THAT:
           That this chapter 11 case is closed, and the Court’s jurisdiction is ended, except as to: the
prosecution of any pending claims objection, any motions to sell free and clear, the issuance of an
order pursuant to 11 U.S.C. 1141(d)(5), and as further provided by 11 U.S.C. §1142. All quarterly
fees due and owing the United States Trustee pursuant to 11 U.S.C. § 1930(a)(6) must immediately be
paid current through the date of entry of this order.

AND IT IS SO ORDERED.
